 Case 9:18-cv-80176-BB Document 1062 Entered on FLSD Docket 12/04/2023 Page 1 of 1
        USCAII Case:22-11150           Docum ent:72             Date Filed:11/29/2023     Pége:1 bf1


                               UNIX'tD STATES COURT OF APPEALS
                                  FöR THE ELEW NTH CIRCUIT
                                  ELBERTPARR TUTTLECOIJRTOFAPPEM SZUILDING
                                               56 Forsyth Street N.W           '
                                               AtlantaaGeorgiabo3/
     David J.Smith                                                                        Forrulesandformsvisit
     ClerkofCourt                                                                         www.cal1,uscburts.zov

                                            N bvember29,2023

     Clefk -Suuthern D istrictofFlorida
     U .S.D isttictCourt                                                            dFILED BY
                                                                                    i                   .         D.C,
     400 N M IAM IA VE
     M IAV I,FL 33128-1810                                                          I 2Esg#2223
                                                                                    $
                                                                                    1
                                                                                    # .    ANGEUA E.NoBuE
                                                                                    p
                                                                                    t     CLD.
                                                                                          s.ERoF
                                                                                              KUiSuk.
                                                                                                    Dl
                                                                                                     -sMI
                                                                                                       lAcMI
                                                                                                          m
     A ppealN um ber: 22-11150-G G
     CaseStyle:lraKleiman v.Craig W right
     DistrictCourtDocketN o:9:18-cv-80176-BB

      The follow ing record m aterials in thereferenced case are returned herew ith:

  C OneEnvulopeofExhibitsandTwoEnvelopeofSEALEDExhibits. ccm stsdqv-y CF-
   ty % xlrtg evwchoA c- lnhng % x b ovàve Gsa.o œ pzq
GYYI
   - C!% Y verA c- ïmlmy DE ? b (:xN /pzylygq (s mao b
> <s5 ozvs(t) covcow ccvw înho > qsq coss w sveh
      Clerk'sOfficePhoneN um bers
      GeneralInform ation: 404-335=6100          AttorneyAdm issions:              404-335-6122
      Casu A dm inistration: 404-335-6135         CapitalCases:              404-335-6200
      CM /ECF Help Desk: 404-335-6125             Cases SetforOralA rgum ent: 404-335-6141



                                                                   REC=3 LtrReturning Record to D C/wpm
